                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESEE
                                 NASHVILLE DIVISION

 IAN HUNTER LUCAS,                             )
     Plaintiff,                                )    Civil Action No. 3:23-cv-01359
                                               )
 v.                                            )      Judge Richardson/Frensley
                                               )
 VANDERBILT UNIVERSITY et al.                  )
     Defendants.                               )


        PLAINTIFF’S MOTION FOR EMERGENCY PRELIMINARY INJUNCTION


      Plaintiff, IAN HUNTER LUCAS (“Plaintiff”), proceeding pro se, respectfully moves this

Court pursuant to Federal Rule of Civil Procedure 65(a) for a preliminary injunction against

Defendant VANDERBILT UNIVERSITY (“Defendant”). Plaintiff seeks to prevent ongoing and

irreparable harm arising from Defendant’s discriminatory and retaliatory conduct, including

its failure to provide reasonable accommodations for Plaintiff’s disabilities and its subsequent

manipulation of Plaintiff’s academic record.

          In support of this Motion, Plaintiff also relies upon the arguments and authorities set

forth in the contemporaneously filed Memorandum of Law.

                        I.   INTRODUCTION

      Plaintiff, who is diagnosed with multiple qualified disabilities initially secured disability

accommodations from Defendant’s Office of Student Access. Despite the approval of these

accommodations, faculty within the Vanderbilt University School of Nursing threatened to

penalize Plaintiff for utilizing them. After Plaintiff reported this behavior to the Office of

Student Access and later to the Office of Equal Access, Defendant retaliated by altering

Plaintiff’s previously earned passing course grades to failing marks without proper procedures

or due process.

         Through this pattern of conduct—discriminatory threats, termination of an

investigation into systemic discrimination, retaliatory grade changes, and circumvention of

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established due process standards—Defendant has inflicted irreparable harm on Plaintiff’s

educational and professional future. Plaintiff now seeks a preliminary injunction to restore

his academic status, reinstate appropriate accommodations, and halt further discriminatory

actions while this matter is resolved on the merits.

                          II.   STATEMENT OF FACTS

            A.    Plaintiff’s Disabilities and Approved Accommodations

       Plaintiff is a nursing student diagnosed with a qualified disability. These disabilities

substantially affect Plaintiff’s ability to process information and perform under traditional

academic conditions. After submitting professional documentation outlining his needs,

Plaintiff obtained accommodations from the Office of Student Access, including extended

examination times, a low-distraction testing environment, and accessible course materials.

            B.    Faculty’s Interference and Discrimination

       Despite the Office of Student Access approving these accommodations, faculty in the

School of Nursing informed Plaintiff that utilizing them would result in punitive measures,

including grade penalties. This directly undermined the purpose of the accommodations.

Following Plaintiff’s complaint, the Office of Student Access, purportedly with the support of

University leadership, initially intervened to prevent faculty from penalizing the Plaintiff’s

use of disability accommodations.

            C.    Reporting to the Office of Equal Access and Retaliation

       Concerned by these discriminatory practices, Plaintiff reported them to the Office of

Equal Access, which hired a third-party investigator. When the investigation reportedly

uncovered systemic disability discrimination, the Office of Equal Access terminated the

investigator’s contract, effectively halting the inquiry. Subsequently, in retaliation for

Plaintiff’s complaint, faculty members retroactively changed two of Plaintiff’s passing course

grades to failing grades, justifying these changes with “anonymous complaints” never shown

to Plaintiff. This precluded Plaintiff from challenging the allegations and violated his due

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process rights. Further, the University attempted to manipulate Plaintiff’s Grade Point

Average, contrary to its own policies, and was only corrected after the University Registrar’s

intervention.

            D.    Circumvention of Due Process and Academic Policies

          According to the Vanderbilt School of Nursing Student Handbook, alleged policy

violations should be referred to the Honor Council, allowing the accused student a fair

hearing and the ability to present evidence. Instead, Defendant framed the issue as one of

“academic progression” rather than misconduct or disciplinary violation. This characterization

avoided the procedural safeguards associated with the Honor Council process. By imposing

two retroactive course failures, Defendant triggered a policy allowing for Plaintiff’s immediate

dismissal for alleged academic shortcomings. The Academic Progression Committee reviewing

Plaintiff’s status lacked authority to overturn the retaliatory grade changes, provided no

hearing, and offered no platform for Plaintiff’s defense. In short, Defendant engineered a

scenario to dismiss Plaintiff under the guise of academic performance, thus evading

heightened due process standards that would apply if the dismissal were clearly recognized as

disciplinary or misconduct based.

                             III. LEGAL STANDARD

            To obtain a preliminary injunction, a plaintiff must show: (1) a likelihood of

success on the merits; (2) irreparable harm in the absence of the injunction; (3) that the

balance of equities favors the plaintiff; and (4) that the public interest supports an injunction.

Winter v. Nat. Res.Def. Council, 555 U.S. 7, 20 (2008); Sisters for Life, Inc. v. Louisville-

Jefferson County, 56 F.4th 400, 403 (6th Cir. 2022). The Sixth Circuit recognizes that

irreparable harm is a threshold requirement. See D.T. v. Sumner Cnty. Sch., 942 F.3d 324,

326–27 (6th Cir. 2019).




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                                IV.   ARGUMENT

              A.    Likelihood of Success on the Merits

       Plaintiff’s claims arise under the Americans with Disabilities Act (ADA), 42 U.S.C. §

12101 et seq., and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, both of which

prohibit discrimination by educational institutions receiving federal funding. The Sixth

Circuit has held that educational entities must provide reasonable accommodations and may

not retaliate against students with disabilities. See Kaltenberger v. Ohio Coll. of Podiatric

Med., 162 F.3d 432, 435–36 (6th Cir. 1998). Here, Plaintiff initially received accommodations

but was threatened with penalties for using them. After reporting discrimination, Plaintiff

faced retaliatory grade changes and denial of due process. Courts do not defer to academic

judgments tainted by discrimination or bad faith. See Endres v. Northeast Ohio Med. Univ.,

938 F.3d 281, 296–97 (6th Cir. 2019). Plaintiff is therefore likely to succeed on the merits of

his claims.

              B.    Irreparable Harm

       Irreparable harm exists where injuries cannot be fully remedied by money damages.

Plaintiff’s inability to continue his nursing education and progress toward licensure, coupled

with the reputational harm of a false “academic failure,” cannot be undone later. Educational

and professional opportunities lost during the pendency of this litigation may never be

recovered. Courts have recognized that wrongful denial of educational opportunities

constitutes irreparable harm. See Doe v. Ohio State Univ., 136 F. Supp. 3d 854, 867–69 (S.D.

Ohio 2016).

              C.    Balance of Equities

              The balance of equities overwhelmingly favors Plaintiff. Complying with already

approved accommodations and ensuring a fair process imposes minimal burden on Defendant.

Conversely, Plaintiff’s entire professional future and ability to practice as a nurse depend on

timely relief. Without this injunction, Plaintiff faces permanent damage to his academic and

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professional reputation and loss of career opportunities.

           D.      Public Interest

       The public interest favors strict adherence to the ADA and Section 504, ensuring equal

educational access for students with disabilities. Guaranteeing that universities do not

retaliate against students who report discrimination furthers public confidence in educational

institutions. By granting the injunction, this Court encourages compliance with federal laws

and promotes transparency, fairness, and equality.

                     V.     REQUESTED RELIEF

       Plaintiff requests that this Court issue a preliminary injunction ordering Defendant to:

                1. Reinstate Plaintiff into the Vanderbilt University School of Nursing at the

       academic standing held prior to the retaliatory grade changes.

                2. Restore Plaintiff’s original passing course grades and ensure that all

       approved accommodations are fully implemented without penalty.

                3. Enjoin Defendant from further retaliatory or discriminatory actions against

       Plaintiff, including manipulation of grades or GPA, and denial of due process rights.

                4. Require Defendant to follow the Vanderbilt School of Nursing Student

       Handbook procedures and applicable federal law before making any adverse academic

       decisions that affect Plaintiff’s enrollment.

                          VI.   CONCLUSION

    For the foregoing reasons, Plaintiff respectfully requests that this Court grant a

preliminary injunction to prevent ongoing and irreparable harm, restore Plaintiff’s lawful

status and accommodations, and ensure that Defendant complies with its legal obligations

under the ADA, Section 504, and its own policies.




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 Dated: December 12, 2024,

 Respectfully submitted,

                      /s/ Ian Hunter Lucas

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                   CERTIFICATE OF SERVICE


    I hereby certify that on December 15, 2024, a copy of the foregoing Motion for

Emergency Preliminary Injunction was served via the Court’s electronic filing system

upon counsel of record for Defendant.

                                           /s/ Ian Hunter Lucas

                                          IAN HUNTER LUCAS




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